
9 So.3d 873 (2009)
Michael YEE, Shun Chung, Thomas Yee, Norman Lew, Zi Ping Liang, and Madison Chun
v.
KWOK KIT WOND, Darryl E. Toy, on Leong Chinese Merchants Association, Paul Louie, Tang Ching Lee, Chin Heng Tong, M.K. Wong, King Chan, Chinese Merchants Association, a/k/a National on Leong Chinese Merchants Association, Kin P. ("Kenny") NG, and Ricky Moy.
No. 2009-C-0893.
Supreme Court of Louisiana.
June 5, 2009.
Denied.
GUIDRY, J., recused.
